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     JOSE MORALES CASTELLON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )   No. 13-CR-0053-MCE
                                                     )
                                                     )   STIPULATION AND
12          Plaintiff,                               )   ORDER CONTINUING CASE AND
13                                                   )   EXCLUDING TIME
     v.                                              )
14                                                   )
     OMAR VERA,                                      )   Date: June 23, 2016
15                                                   )   Time: 9:00am.
     JOSE MORALES CASTELLON,                         )   Judge: Honorable Morrison C. England
16
     EDUARDO REYES.                                  )
                                                     )
17          Defendants.                              )
                                                     )
18

19

20          IT IS HEREBY stipulated between the United States of America through its undersigned
21   counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff, together with
22   Assistant Federal Defender Michael Petrik, attorney for defendant Omar Vera, Kyle Knapp,
23   attorney for defendant Jose Morales Castellon and Benjamin Williams, attorney for defendant
24   Eduardo Reyes, that the previously-scheduled status conference, currently set for May 5, 2016,
25   be vacated and that the matter be set for status conference on June 23, 2016 at 9:00 a.m.
26          Counsel have conferred and this continuance is requested to allow defense counsel
27   additional time to finalize review of plea agreements in this case, finalize defense investigation
28   and review the discovery in this matter.


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 1          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 2   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 3   time within which the trial of this case must be commenced under the Speedy Trial Act should
 4   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 5   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, May 3,
 6   2016 up to and including June 23, 2016.
 7   IT IS SO STIPULATED.
 8
     Dated: May 3, 2016                                          BENJAMIN B. WAGNER
 9                                                               UNITED STATES ATTORNEY

10                                                        by:    /s/ Jason Hitts
                                                                 JASON HITT
11
                                                                 Assistant U.S. Attorney
12                                                               Attorney for Plaintiff

13   Dated: May 3, 2016                                          /s/ Kyle Knapp
14
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
15                                                               JOSE MORALES CASTELLON
16   Dated: May 3, 2016                                          /s/ Michael Petrik
17
                                                                 MICHAEL PETRIK
                                                                 Assistant Federal Defender
18                                                               Attorney for Defendant
                                                                 OMAR VERA
19

20   Dated: May 3, 2016                                          /s/ Benjamin Williams
                                                                 BENJAMIN WILLIAMS
21                                                               Attorney for Defendant
                                                                 EDUARDO REYES
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               Case 2:13-cr-00053-JAM Document 83 Filed 05/06/16 Page 3 of 3


                                                 ORDER
 1
            The Stipulation of the parties is hereby accepted and the requested continuance is
 2
     GRANTED. This matter shall be dropped from this court’s May 5, 2016 criminal calendar and
 3
     re-calendared for status conference on June 23, 2016. Based on the representations of the
 4
     parties the court finds that the ends of justice served by granting this continuance outweigh the
 5
     interests of the public and the defendant in a speedy trial. Time is excluded from the time of the
 6
     filing of this stipulation on May 3, 2016 through and including June 23, 2016.
 7
            IT IS SO ORDERED.
 8
     Dated: May 5, 2016
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